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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
(MIAMI, DIVISION)
In re: : CASE NO.: 18-16699-LMI
SANABI INVESTMENTS, L.L.C., : CHAPTER 7

Debtor. :
/

 

TRUSTEE’S NOTICE OF ABANDONMENT

COMES NOW, Robert A. Angueira, as the Chapter 7 Trustee of the case captioned above
and does hereby file this notice pursuant to §554 of the United States Bankruptcy Code and Local
Rule 6007 (B)(1) that he intends to abandon the following property of the Debtor in that it is
burdensome and of inconsequential value and benefit to the estate:

Personal Property described as:
Apple All-in-One Computer
SN CO2HMIZSDHJF

Dell Dimension E521 (Computer Tower)
Product Key: RQOYMV-VVG6F-2WKQ4-Q2F3G-RX9CY

The above listed personal property were the only computers located at the Debtor’s
warehouse located at 11421 NW 107" Street, Ste. 13, Miami, FL 33178
and secured by the Trustee

The above listed personal property is currently located at 16 SW 1 Ave, Miami, FL 33130

PURSUANT TO BANKRUPTCY RULE 6007, THE PROPOSED ABANDONMENT
WILL BE DEEMED APPROVED WITHOUT NECESSITY OF A HEARING OR ORDER, IF NO
OBJECTION IS FILED AND SERVED WITHIN 14 DAYS AFTER THE DATE OF SERVICE OF
THIS NOTICE.

Any party objecting to the abandonment must file its objection with the Bankruptcy Clerk’s
Office at the Claude Pepper Federal Building, 301 N. Miami Avenue, Room 150, Miami, FL 33128.

DATED: August “7 _ 4 2020. De f i j

Robert A. Agensea
Chapter 7 Trustee
16 S.W. 1* Avenue
Miami, FL 33130

 
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CERTIFICATE OF SERVICE
I CERTIFY THAT acopy of this Notice of Abandonment was mailed via first class mail to

all persons on the attached mailing matrix this Hy day of August, 2020.

I CERTIFY THAT a copy of this Notice of Abandonment was served via the Notice of

Electronic Filing on this uy day of August, 2020 to:

Robert A Angueira _ trustee@rabankruptcy.com,
f179@ecfcbis.com;raa@trustesolutions.net;tassistant@rabankruptcy.com;richard@rabank
ruptcy.com;lillian@rabankruptcy.com

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ROBERT A. ANGUEIRA
Chapter 7 Trustee

16 S.W. 1° Avenue

Miami, Florida 33130

Tel. (305) 263-3328

e-mail trustee@rabankruptcy.com

» Lae dp

ROBERT A. ANGUHIRA
Chapter 7 Trustee
Florida Bar No. 0833241
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VI Inc. as trustee of World Omni LT
c/o Michael Solloa, Esq.

110 SE 6th St., 15th Flr.

Fort Lauderdale, FL 33301-5004

Bank of America
FO Box 15796
Wilmington, DE 19886-5796

(p) JPMORGAN CHASE BANK NA
BANKRUPTCY MATL INTAKE TEAM
700 RANSAS LANE FLOOR 01
MONROE LA 71203-4774

Florida Department of Revenue
8175 NW 12th St Ste 119
Doral, FL 33126-1828

Internal Revenue Service
7850 SW 6th ct 3 5730
Plantation, FL 33324-3210

National Funding Inc
9820 Towne Centre Dr
San Diego, CA 92121-1944

Nexogy
2121 Ponce de Leon Blvd Ste 200
Coral Gables, FL 33134-5256

Royal Truk Division
Attn: Barbara Miller
125 Sterling Ave
Orrville, OH 44667-1551

Adi Amit, Esq.

Lubell & Rosen, LLC

200 S Andrews Ave § $00

Fort Lauderdale, FL 33301-2068

(p)BANK OF AMERICA
PO BOX 982238
BL PASO TX 79998-2238

Chrysler Capital
PO Box 660647
Dallas, TX 75266-0647

Florida Department of Revenue
PO Box 6668
Tallahassee, FL 32314-6668

Internal Revenue Services
PO Box 7346
Philadelphia, PA 19101-7346

Newtek Smal] Business Finance, LLC
1981 Marcus Ave Ste 130
New Hyde Park, NY 11042-1046

Santander Consumer USA Inc, d/b/a/ Chrysler
P.O. BOX 961275
FORT WORTH, TX 76161-0275

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Integrated Vehicle Leasing, Inc.
c/o Moritt Hock & Hamroff LLP
400 Garden City Plaza

Garden City, NY 11530-3322

Arvin Nicolas Zapata Carrero et al.

c/o Rivkah F. Jass, Esq. J.H. Zidell PA
300 Tist St Ste 605

Miami Beach, FL 33141-3089

Celtic Bank/Kabbage, Inc.
268 S State St Ste 300
Salt Lake City, UF 84111-5314

Citibank, N.A.
PO Box 790046
Saint Louis, MO 63179-0046

Integrated Vehicle Leasing, Inc.
734 Walt Whitman Rd
Melville, NY 11747-2216

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Miami Beach, FL 33141-3089

Todd Goldenfarb
POB 398806
Miami Beach FL 33239-8806
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Toyota Financial Services
PO Box 70831
Charlotte, NC 28272-0831

VT Inc. as Trustee of World Omni LT
c/o H. Michael Solloa, Jr. Esquire
110 SE 6th Street, Suite 1500
Fort Lauderdale, FL 33301-5039

US Bank as Servicer
PO Box 790117
Saint Louis, KO 63179-0117

Arwin Nicelas Zapata Carrero
J.H,Zidell PA

300 71st Ste. 606

Miami Beach, FL 33141-3089

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USB Leasing LT

c/o U.S. Bank National Association
Bankruptcy Department

PO Box 5229

Cincinnati, Ohio 45201-5229
